             Case 5:05-cr-00445-RMW         Document 102        Filed 05/25/06      Page 1 of 2



1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVBN 0722)
3    Chief, Criminal Division
4    MARK L. KROTOSKI (CSBN 138549)
     Assistant United States Attorney
5
        150 Almaden Avenue, Suite 900
6       San Jose, California 95113
        Telephone: (408) 535-5035
7       FAX: (408) 535-5081
8    Attorneys for Plaintiff
9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12                                                                      *E-FILED - 5/25/06*
13
14   UNITED STATES OF AMERICA,                    )       No. CR 05-00445-RMW
                                                  )
15           Plaintiff,                           )
                                                  )       STIPULATION TO CONTINUE
16      v.                                        )       SENTENCING HEARING
                                                  )       AND ORDER
17   CHIRAYU PATEL,                               )
       aka nebula, aka nebwrk, aka aluben,        )
18     aka notneb, aka aluben,                    )
                                                  )
19           Defendant.                           )
                                                  )
20
        It is hereby stipulated and agreed between defendant Chirayu Patel, by and through his
21
     counsel of record, Jessie Garcia, Esq., and the United States, by and through Assistant United
22
     States Attorney Mark L. Krotoski, as follows:
23
        1. This matter is presently set for a sentencing hearing on August 14, 2006 at 9:00 a.m.
24
        2. The parties agree that further time is needed to address sentencing issues and that the
25
     terms of the plea agreement continue to apply.
26
        For the foregoing reasons, and that the ends of justice are served by continuing this case, the
27
     parties stipulate and request to a continuance of the sentencing hearing from August 14, 2006 at
28

     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND ORDER
     CR 05-00445-RM W
           Case 5:05-cr-00445-RMW           Document 102        Filed 05/25/06     Page 2 of 2



1    9:00 a.m. to September 25, 2006 at 9:00 a.m., or the next available date.
2       IT IS SO STIPULATED.
3    Dated: May __, 2006                                  KEVIN V. RYAN
                                                          United States Attorney
4
5
                                                          ________________________
6                                                         MARK L. KROTOSKI
                                                          Assistant United States Attorney
7
     Dated: May __, 2006
8
                                                          ________________________
9                                                         JESSIE GARCIA
                                                          Attorney for Defendant
10
11      IT IS SO ORDERED.
12      Upon good cause shown, the sentencing hearing is continued from from August 14, 2006 at
13   9:00 a.m. to September 25, 2006 at 9:00 a.m.
14   Dated: May __,
                25 2006
15
                                                           /S/ RONALD M. WHYTE
                                                          _________________________
16                                                        RONALD M. WHYTE
                                                          United States District Judge
17
     Distribute To:
18
     Jesse J. Garcia
19   Garcia, Schnayerson & Mockus
     225 West Winton
20   Suite 208
     Hayward, CA 94544-1219
21   FAX: (510) 782-7580
22   Mark L. Krotoski
     AUSA
23   150 Almaden Boulevard, Suite 900
     San Jose, CA 95113
24
     Jack Roberson
25   U.S. Probation Officer
     280 South First Street
26   San Jose, CA 95113
27
28

     STIPULATION REQUESTING CONTINUANCE OF SENTENCING HEARING AND ORDER
     CR 05-00445-RM W                  Page 2 of 2
